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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on March 16, 2023

UNITED STATES OF AMERICA : CRIMINALNO. 23-cr-

v. GRAND JURY ORIGINAL
SHANE LAMOND, VIOLATIONS:

Defendant. Count 1: D.C. Code § 22-722

(Obstruction of Justice)

: Counts 2-4: 18 U.S.C. § 1001(a)(2)
: (False Statements)

INDICTMENT

The Grand Jury charges that, at all times material to this Indictment, on or about the dates

and at the approximate times stated below:
Background

l. Defendant SHANE LAMOND was a Lieutenant in the District of Columbia
Metropolitan Police Department (“MPD”). LAMOND supervised the Intelligence Branch of
MPD’s Homeland Security Bureau.

2. As the Lieutenant in charge of the Intelligence Branch, LAMOND’s
responsibilities included supervising MPD’s efforts to gather information about forthcoming rally
or protest activity in the District of Columbia that may pose public safety threats to the community.

3. The Proud Boys (“Proud Boys”) described itself as a “pro-Western fraternal

organization for men who refuse to apologize for creating the modern world; aka Westem

 
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Chauvinists.” Members of the Proud Boys routinely attended rallies, protests, and other events in
the District of Columbia, some of which resulted in violence involving members of the group.

4. Through at least January 6, 2021, Enrique Tarrio was the national chairman of
Proud Boys.

Communications between LAMOND and Enrique Tarrio

5. Beginning in July 2019 and continuing to at least January 2021, LAMOND and
Tarrio were in regular contact regarding the Proud Boys’ planned activities in the District of
Columbia. They communicated at least 500 times using cloud-based messaging services,
including Google Voice, Apple iMessages, and Telegram, an encrypted messaging application.

6. Between February 10, 2020, and July 4, 2020, LAMOND and Tarrio used Google
Voice to exchange 56 messages and participate in five (5) calls.

7. Between August 20, 2020, and December 12, 2020, LAMOND and Tarrio used
Apple iMessage to exchange 294 text messages.

8. Between July 3, 2020, and December 17, 2020, LAMOND and Tarrio used
Telegram to exchange 79 messages using the private chat function.

9. Between December 18, 2020, and through at least January 4, 2021, LAMOND and
Tarrio used Telegram to exchange approximately 145 messages using the secret chat function,
utilizing end-to-end encryption and self-destruct timers. At least 101 of these messages were
destroyed.

LAMOND Used Encrypted Messaging and Provided Tarrio
Information Relating to Law Enforcement Activity

10.‘ As early as at least July 2020, LAMOND began using Telegram to provide
information to Tarrio about law enforcement activity relating to the Proud Boys’ activities in

Washington, D.C.

 
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11. . Forexample, on July 8, 2020, using Telegram, LAMOND notified Tarrio that a bar
in Washington, D.C. frequented by Tarrio and members of Proud Boys might be subject to
sanctions after an Alcohol and Beverage Control violation was reported. LAMOND informed
Tarrio, “I’m working on finding out what sanctions might be imposed. As soonas I find out] will
let you know.”

12. On November 7, 2020, vote counts revealed that President Joseph R. Biden had
won the 2020 Presidential Election, and several news organizations began reporting this fact.

13. At 1:08 p.m. on November 7, 2020, LAMOND texted Tarrio, “Hey brother, sad,
sad news today. You all planning anything?” Tarrio responded, “Yep.”

14. At 2:10 p.m. on November 7, 2020, using Telegram, LAMOND told Tarrio that
“Need to switch to encrypted. Alerts are being sent out to LE that [Social Media Website] accounts
belonging to your people are talking about mobilizing and ‘taking back the country’. [sic] Getting
people spun up. Just giving you a heads up.”

15. At 2:14 p.m. on November 7, 2020, using Telegram, Tarrio sent LAMOND an
audio message.

16. At2:16 p.m. on November 7, 2020, using Telegram, LAMOND told Tarrio, “Got
your voice messages. Just giving you a heads up. Please keep this between you and me.”

17. On November 13, 2020, Tarrio came to Washington, D.C., to attend a rally
scheduled for the next day to contest the results of the 2020 Presidential Election.

18. Earlier on November 13, 2020, LAMOND texted Tarrio, “I’m staying in D.C.
tonight. Let me know if you go out and I may stop by.”

19. After Tarrio latertold LAMOND that he was headingto a bar in Washington, D.C.,

frequented by members of the Proud Boys, LAMOND responded, “Check telegram.”

 
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20. Around the same time, on Telegram, LAMOND told Tarrio, “Just giving you a
heads up there’s a lot of attention at [the bar] right now. If it doesn’t calm down they are going to
shut [the bar] dow[n].” A short time later, LAMOND told Tarrio through Telegram, “Just wanted
to let youknow. I heard [the District of Columbia Alcoholic Beverage Regulation Administration]
already on scene.”

21. On December 11, 2020, Tarrio and other members of the Proud Boys were in
Washington, D.C., in advance of a rally planned for December 12, 2020, to protest the results of
the 2020 Presidential Election. That evening, Tarrio, using Telegram, informed LAMOND that
Tarrio and members of the Proud Boys were “going to have a briefing tonight at 1030 at the
national! mall” and that they were marching from a hotel in Washington, D.C. LAMOND
responded, using Telegram, “Copy. Antifa should be staying up at BLM Plaza. Do you want me
to let our uniformed officers know that or keep it to myself? I will be around all night in case
anything kicks off.” Immediately after, using Telegram, Tarrio sent LAMOND an audio message.

MPD Investigation of Tarrio

22. On December 12, 2020, Tarrio and other members of the Proud Boys attended a
rally in Washington, D.C., organized to protest the results of the 2020 presidential election.

23. Later in the evening of December 12, 2020, Tarrio participated in the theft and
burning of a banner that read “#BLACKLIVESMATTER” (“the BLM Banner”), which was
property of Asbury United Methodist Church in Washington, D.C.

24. After the theft and burning was reported to law enforcement, MPD initiated an
investigation (“the BLM Banner Burning Investigation”). The BLM Banner Burning Investigation

was handled by MPD’s riot task force, which consisted of various MPD detectives.

 
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25. OnDecember 17,2020, Tarrio posted a message to a social media accountin which
he admitted he was the “person responsible for the burning.”

26. On December 18, 2020, MPD received an anonymous tip that Tarrio had claimed
responsibility for the burning. .

27. On December 30, 2020, MPD and the U.S. Attorney’s Office for the District of
Columbia applied to the D.C. Superior Court fora warrant to arrest to Tarrio for destruction of
property for his participation in the destruction of the BLM Banner. The same day, a judge of the
D.C. Superior Court signed the arrest warrant, and the warrant was issued.

28. On January 4, 2021, Tarrio flew from Miami, Florida, to Arlington, Virginia. After
landing in Arlington, Virginia, Tarrio traveled into the District of Columbia. After entering the
District of Columbia, Tarrio was arrested pursuant to the December 30, 2020, warrant.

LAMOND Gave Tarrio Confidential Law Enforcement Information
about the BLM Banner Burning Investigation

29. Meanwhile, from the time of the destruction of the BLM Banner through January
4, 2021, LAMOND and Tarrio were in regular contact about the BLM Banner Burning
Investigation and Tarrio’s involvement in the destruction of the BLM Banner.

30. On December 18, 2020, after LAMOND learned of the anonymous tip MPD
received identifying Tarrio as the individual responsible for burning the BLM Banner, LAMOND
contacted Tarrio on Telegram. To contact Tarrio, LAMOND used a chat on Telegram with the
highest level of encryption available. LAMOND and Tarrio then had the following exchange:

LAMOND: Hey brother, did you call in an anonymous tip to MPD claiming
responsibility for the banner burning?

TARRIO: I did more than that. It’s on my social media.

LAMOND: I gotcha. Someone called in an anonymous tip saying that you claimed
responsibility for it.

 

 
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TARRIO: This wasn’t a hate crime. And I want to see it play out.

LAMOND: I’m curious to see what happens too. | will check with our CID [Criminal
Investigations Division] people if they have you on video.

31.  Soonafter, Tarrio, using Telegram, told other members of the Proud Boys that “We
got the jump on the narrative for the banner burning. This should make it next it impossible for
them to use ‘hate crime’ enhancement. As per my contact at DC Metro... This stays in here.”

32. Later on December 18, 2020, using the same encrypted chat function, after Tarrio
asked LAMOND if LAMOND thought “they’ II make a stink of it,” LAMOND responded: “No, a
bit of the opposite. I’ve been talking to CID about it. They wanted to know what I know about
your group and if] think you all are racist. I told them you are made up a lot of Latinos and blacks
so not a racist thing. If anything] said it’s political but then I drew attention to the Trump and
American flags that were taken by Antifa andseton fire. I said all those would have to be classified
as hate crimes too. It’s not being investigated by FBI though. Just us (MPD).”

33. A short time later on December 18, 2020, LAMOND, using the same encrypted
chat function, told Tarrio: “I don’t think they have any pictures of you though.” After Tarrio sent
an image file to LAMOND, LAMOND responded, “Got it. We will see if we can ID the person.”

34. Soon after, Tarrio, using Telegram, copied the information that he had received
from LAMOND and shared it with other members of the Proud Boys.

35. Tarrio, using Telegram, also told an individual “So I just got word... we’re clear
on the banner.”

36. Tarrio then posted on Parler, a social media network, that “...I’m here to tell you
that no hate crime was committed. The only hate there is in my heart is for communism and an

authoritarian government. BLM is a Marxist movement. It isn’t about the color of someone’s

 
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skin. Against the wishes of my attorney I am here today to admit that I am the person responsible
for the burning of this sign. And I am not ashamed of what I did because I didn’t do it out of
hate... I did it out of love. Love for a country that has given my family SO MUCH. The burning
of this banner wasn’t about race religion or political ideology it was about a racist movement that
has terrorized citizens of this country. I will not standby [sic] and what them burn another city.
So let me make this simple. I did it. Come get me if you feel like what I did was wrong. We’ll let
the public decide. Forever PROUD. Enrique.”

37. On December 19, 2020, LAMOND, using the same encrypted chat, function told —
Tarrio that “[pJolice want to talk to you about the banner” and asked Tarrio if there was a phone
number Tarrio wanted LAMOND to give the police.

38. On December 20, 2020, from 4:40 p.m. to 4:51 p.m., LAMOND and Tarrio
exchanged the following encrypted messages:

TARRIO: Miami Dade PD reached out. I’m going to use my Sth. I’ll be in DC on the
6th if MPC wants to talk to me they can see me there. Are they pushing the
hate crime thing?

LAMOND: Give meacall when you can

TARRIO: Through here?

39. OnDecember 20, 2020,at4:51 p.m., Tarrio called LAMOND using Telegram. The
call lasted approximately 7 minutes.

40. On December 22, 2020, approximately two minutes after Tarrio sent LAMOND a
screenshot of a message he received from an MPD detective assigned to the BLM Banner Burning
Investigation through Telegram, LAMOND changed the settings of his encrypted chat with Tarrio
on Telegram so that future messages would delete 5 seconds after the recipient opened them.

41. On December 25, 2020, on the same encrypted chat, LAMOND informed Tarrio,

“Just a heads up, CID had me ID you from a photo you posted on [social media website] kneeling
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down next to the BLM banner so they may be submitting an arrest warrant to US Attorney’s
Office.”

42. OnDecember30, 2020,at6:20 p.m., LAMOND called Tarrio using Telegram. The
call lasted approximately 14 minutes.

43. After the call with LAMOND, at 6:38 p.m., Tarrio initiated an “Emergency Voice
Chat” with the group “Ministry of Self Defense.”

44, On that same day, at 6:55 p.m., Tarrio, using Telegram, sent a message to Person
1, stating, “My contact just called me... DA hasn’t signed it yet...”

45. On that same day, at 7:13 p.m., Tarrio, using Telegram, sent several messages to
the “Ministry of Self Defense” group chat:

TARRIO: Info stays here
TARRIO: No one else knows

TARRIO: It just the misdemeanor. Not hate crime.

TARRIO: And it hasn’t been solid yet.

TARRIO: They’ II probably drop the charges or something
TARRIO: They just want to arrest

PERSON 2: Is it coming on the 6%?

TARRIO: The DA might or might not give it to them
TARRIO: I’m pushing for it

46. On January 1, 2021, at approximately 1:06 p.m., LAMOND sent several messages
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to Person 3, an official with the Capito! Police Department, stating “TIGHT HOLD on this but I
may lose him as a source soon. Our CID gota warrant for him burning them BLM banner. They
are going to pick him up next week when he is in town so he may not speak to me anymore...
They were contemplating making this one a hate crime. I said if that’s the case they would have to
make all of the us taken and burned by Antifa hate crimes. They backed off then... in the end it’s
just a misdemeanor charge so it won’t go far but it was very political.”

47. That same day, beginning at approximately 1:33 pm, Tarrio, using Telegram, sent
several messages to Person 4, stating, “DC metro submitted an arrest warrant to the Attorneys
office ... Destruction of property. No hate crime enhancement... But he says that he’s doesn’t
think they’re going to sign off on it... Because they’re afraid I’ II take it to trial and theirargument
is weak.”

LAMOND Tipped off Tarrio About the Warrant for His Arrest —

48. On January 4, 2021, Tarrio flew from Miami, Florida to Arlington, Virginia. At
approximately 1:02 p.m., while Tarrio was inflight, LAMOND changed the settings of his
encrypted chat with Tarrio on Telegram so that future messages would delete 10 seconds after the
recipient opened them. Using Telegram, LAMOND then sent a message to Tarrio while Tarrio
was inflight.

49. On January 4, 2021, at 1:30 p.m., while on the flight from Miami, Florida, to
Arlington, Virginia, using Telegram, Tarrio sent several messages to Person 5 containing
information he received from LAMOND:

TARRIO: Warrant was just signed

PERSON 5: OMG

PERSON 5: Babe :/

 
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TARRIO: It’s cool. They’ll have to have me in and out

PERSON 5: When you land? Are they taking you on stage

PERSON 5: This is so fucked

TARRIO: Don’t know if my contact will tell me that

50. On January 4, 2021, at approximately 1:31 p.m., while on the flight from Miami,
Florida, to Arlington, Virginia, Tarrio messaged the group chat “Ministry of Self Defense” and
stated, “The warrant was just signed.”

31. LAMOND did not tell MPD personnel handling the BLM Banner Burning
Investigation that he had given Tarrio information about the status of the investigation or that
Tarrio had made admissions to LAMOND about Tarrio’s involvement in the destruction of the
BLM Banner.

52. | LAMOND did not provide his communications with Tarrio about the BLM Banner
Burning Investigation or Tarrio’s involvement in the destruction of the BLM Banner to anyone at
MPD.

The January 6, 2021, Attack on the United States Capitol
and the Subsequent Federal Investigation

33. OnJanuary 6, 2021, ariotous mob forced entry into the U.S. Capitol in Washington,
D.C., by breaking windows, ramming open doors, and assaulting local and federal law
enforcement officers (“the January 6 Attack”). Other crowd members encouraged and otherwise
assisted the forced entry. As a result of the attack on the U.S. Capitol building, Congress’s
certification of the 2020 presidential election results was interrupted and delayed.

54. | Members and associates of the Proud Boys were present at and participated in the
January 6 Attack, and were subsequently convicted for their illegal conduct.

35. Immediately following the January 6 Attack, the Federal Bureau of Investigation

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(“FBI”) and the United States Attorney’s Office for the District of Columbia (““USAO”) launched
a criminal investigation, for which a federal grand jury was convened in the District of Columbia
(“the Federal Investigation”).

56. By January 7, 2021, LAMOND was aware of the Federal Investigation.

57.  Aspartof the Federal Investigation, beginning on January 6, 2021, and continuing
to the present, the FBI and USAO investigated and continue to investigate Tarrio’s, the Proud
Boys’, and their associates’ participation in and planning for the January 6 Attack.

Tarrio Provided LAMOND with Information about the January 6 Attack

58. On December 19, 2020, using Telegram, LAMOND asked Tarrio to let LAMOND
know if the Proud Boys was going to participate in the rally planned for January 6, 2021, in
Washington, D.C. Tarrio responded that if the Proud Boys participated it would be “extremely
small and not in colors.”

59. On December 20, 2020, using Telegram, Tarrio told LAMOND that Tarrio would
be in Washington, D.C. on January 6, 2021.

60. From January 7, 2021, through atleast January 9, 2021, using Telegram, LAMOND
and Tarrio exchanged messages about the January 6 Attack and the involvement of Tarrio’s
associates in it.

61. On January 7, 2021, using Telegram, LAMOND and Tarrio exchanged the
following messages:

TARRIO: I think I could have stopped this whole thing.

LAMOND: _ I don’t know, bro. You know it’s fucking bad when [Person 6] was the
voice of reason and they wouldn’t listen to him. He got on the bullhom and
urged everyone to stop attacking the police and march around the US
Capitol and they ignored him

LAMOND: _ How you holding up? I checked on your charges and the Poss of High
Capacity Mags is a felony

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. TARRIO:
TARRIO:
TARRIO:
LAMOND:
LAMOND:

So gay

Yeah but I have guys! can line up .. . he doesn’t
Lol
That is true

Yesterday was a total shitshow

62. Later on January 7, 2021, using Telegram, LAMOND and Tarrio exchanged the

following messages:

TARRIO:

TARRIO:
LAMOND:
LAMOND:
TARRIO:

I have someone you guys might be looking for. [Person 7]. She had
Maryland police go to her house yesterday.

She thinks they came because of the Capitol stuff.
Copy. Not that I’m aware of offhand but i will check
I know we are working on identifying a number of people

Let me know if she’s on your list. I’ll have her turn herself in

63. After receiving Tarrio’s information about Person 7, LAMOND used his law

enforcement contacts to obtain a list of individuals that the FBI had identified as subjects in the

Federal Investigation. After receiving the list, on Telegram, LAMOND wrote to Tarrio, “Nope.

Noton our list.”

64. On January 8, 2021, using Telegram, LAMOND and Tarrio exchanged the

following messages:

LAMOND:

TARRIO:

LAMOND:

TARRIO:

Looks like the feds are locking people up for rioting at the Capitol. I hope
none of your guys were among them.

So far from what I’m seeing and hearing we’re good

Great to hear. Of course I can’t say it officially, but personally I support

you all and don’t want to see your group’s name or reputation dragged
through the mud

One of my guys did get arrested in Hawaii. But he was just in there behind
people. Recorded the whole thing for his YouTube. No damage

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TARRIO: Thanks but I think we’re passed that. . . the brunt of this will come down
on us.

TARRIO: Past*

LAMOND: _ It’s not going to matter. Simply entering the building will be enough to get
charged. Being up on the upper terrace past the police lines may even be
enough

TARRIO: Yeah I know. Will those be felonies?

LAMOND: Yes. 100%

TARRIO: What felony is it?

LAMOND: — 18 USC 1752 —- Restricted Building or Ground

LAMOND Lied to and Misled USAO Investigators
65. On June 2, 2021, when Federal Law Enforcement Officers 1 and 2 (USAO
investigators) interviewed LAMOND about his contacts with Tarrio, LAMOND knowingly and
willfully made several false and misleading statements to them, as described below.
66. | When asked whether, in his conversations with Tarrio, it was common for Tarrio
“to fish” for information, LAMOND responded, “No, not really. He never really asked me
questions about, like, you know, what we were doing or anything. It was more, you know, one-
sided with just him telling me, you know, what their plans were.” In fact,as LAMOND knew,
since at least July 2020, LAMOND regularly provided sensitive law enforcement information to
Tarrio.

67. | When asked how he would typically communicate with Tarrio, LAMOND
misleadingly stated, “[e]ither by phone, or I’m trying to think. Never by email. I can’t remember.
I think sometimes it was by text, too. I don’t remember.” When thenasked specifically whether

LAMOND and Tarrio used Telegram or another encrypted messaging service, LAMOND

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misleadingly stated, “I think Telegram, maybe?” In fact, as LAMOND knew, by November 2020,
LAMOND and Tarrio communicated almost exclusively by Telegram.

68. | When asked what LAMOND’s conversations were like with Tarrio between the
date of the BLM Banner Burning and Tarrio’s arrest on January 4, 2021, LAMOND responded, “1
was trying to find out, without tipping him off to the MPD investigation.” In fact, as LAMOND
knew, between the date of the BLM Banner Burning and January 4, 2021, LAMOND provided
regular updates and information to Tarrio about the BLM Banner Burning Investigation.

69. Later in the interview, LAMOND falsely stated that after Tarrio publicly claimed
responsibility forthe BLM Banner Burning, LAMOND and Tarrio “ha{d] another conversation
afterwards, but we didn’t talk about the banner, or whether or not he did it.” In fact, as LAMOND
knew, Tarrio had indicated to LAMOND that Tarrio participated in the BLM Banner Burning.

70. | When asked whether MPD’s arrest plan for Tarrio in the BLM Banner Burning
Investigation was to carry it out without notifying Tarrio in advance or to get Tarrio to turn himself
in, LAMOND stated that he believed the plan was to carry out the arrest plan without notifying
Tarrio and that “I know that I didn’t, you know inform him that he had an arrest warrant.” In fact,
as LAMOND knew, he had informed Tarrio that MPD had an arrest warrant for Tarrio before
’ MPD arrested him.

71, During the interview, LAMOND misleadingly stated that he had “one or two”
conversations with Tarrio on January 6, 2021, or the day after, and that Tarrio had told LAMOND
that Tarrio believed he could have stopped the January 6 Attack.

72. | LAMOND did not disclose that Tarrio had identified to LAMOND an associate
who was present at the U.S. Capitol on January 6 or that Tarrio had previously made comments

about attending events in Washington, D.C. on January 6.

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COUNT ONE
(Obstruction of Justice - D.C. Code § 22-722)

73. Paragraphs | through 72 are incorporated herein.

74. On or about December 13, 2020, through on or about January 4, 2021, within the
District of Columbia,

SHANE LAMOND,
willfully and knowingly, did corruptly obstruct and impede and endeavor to obstruct and impede
the due administration of justice in an official proceeding, that is, the investigation and prosecution
of destruction of property arising from the December 12, 2020, burning of a banner that read
“#BLACKLIVESMATTER” in Washington, D.C.
(In violation of D.C. Code § 22-722 (Obstruction of Justice))

COUNT TWO
(False Statement - 18 U.S.C. § 1001(a)(2))

75. Paragraphs | through 72 are incorporated herein.
76. On June 2, 2021, in the District of Columbia and elsewhere, the defendant,
SHANE LAMOND,

did knowingly and willfully make a materially false, fictitious, and fraudulent statement and
representation in a matter within the jurisdiction of the executive branch of the Government of the
United States; that is, in an interview conducted by federal law enforcement, LAMOND falsely
stated that LAMOND’s relationship with Tarrio “was more, you know, one-sided with just him
telling me, you know what their plans were,” when, in fact, as LAMOND knew, sinceat least July
2020, LAMOND had regularly provided Tarrio with confidential information about law
enforcement activity.

(In violation of Title 18, United States Code, Section 100 1(a)(2))

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COUNT THREE
(False Statement - 18 U.S.C. § 1001(a)(2))

77. Paragraphs | through 72 are incorporated herein.
78.  OnJune 2, 2021, in the District of Columbia and elsewhere, the defendant,
SHANE LAMOND,
did knowingly and willfully make a materially false, fictitious, and fraudulent statement and
representation in a matter within the jurisdiction of the executive branch of the Government of the
United States; that is, in an interview conducted by federal law enforcement, LAMOND falsely
stated that LAMOND had tried to find out information from Tarrio about Tarrio’s involvement in
the December 12, 2020, destruction of the BLM Banner “without tipping him off to the MPD
_ investigation,” when, in fact, as LAMOND knew, LAMOND had provided regular updates and
information to Tarrio about the BLM Banner Burning Investigation.
(In violation of Title 18, United States Code, Section 1001(a)(2))

COUNT FOUR
(False Statement - 18 U.S.C. § 1001(a)(2))

79. Paragraphs I through 72 are incorporated herein.
80. On June 2, 2021, in the District of Columbia and elsewhere, the defendant,
SHANE LAMOND,

did knowingly and willfully make a materially false, fictitious, and fraudulent statement and
representation in a matter within the jurisdiction of the executive branch of the Government of the
United States; that is, in an interview conducted by federal law enforcement, LAMOND falsely
stated that LAMOND “didn’t, you know, inform him that he had an arrest warrant” for Tarrio’s
participation in the December 12, 2020, destruction of the BLM Banner, when, in fact, as
LAMOND knew, LAMOND had informed Tarrio thatan arrest warrant had been issued for Tarrio.

(In violation of Title 18, United States Code, Section 1001(a)(2))

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A TRUE BILL

FOREPERSON

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ATTORNEY FOR THE UNITED STATES
IN AND FOR THE DISTRICT OF COLUMBIA

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